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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                              No. CR 14-2783 JB

THOMAS R. RODELLA and
THOMAS R. RODELLA, JR.,

               Defendants.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Motion for Continuance of Sentencing,

filed January 16, 2015 (Doc. 161)(“Motion”). The Court held a hearing on January 20, 2015. At

the hearing, the Court first ruled on the Second Motion for a New Trial, filed January 15, 2015

(Doc. 160)(“New Trial Motion”), and denied the New Trial Motion. See Transcript of Hearing

at 86:19-24 (taken January 20, 20115)(“Tr.”)(Court).1 After denying the New Trial Motion,

Defendant Thomas R. Rodella conceded that there was no sound reason to continue the

sentencing hearing. See Tr. at 89:7-10 (Gorence, Court)(“Given the Court’s ruling, is there any

reason not to proceed then with the sentencing tomorrow, Mr. Gorence, your second motion?

Mr. Gorence: No, Your Honor.”). Accordingly, the Court denied the Motion. See Tr. at 94:7-8

(Court). Thus, for the reasons stated on the record, the Court will deny the Motion.

       IT IS ORDERED that the Motion for Continuance of Sentencing, filed January 16, 2015

(Doc. 161), is denied.




       1
        The Court’s citations to the transcript of the hearing refer to the court reporter’s original,
unedited version. Any final transcript may contain slightly different page and/or line numbers.
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                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE

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